 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 1 of 60




        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                    ROME DIVISION



DAVID SCOTT,

Plaintiff,                           CIVIL ACTION NO.

 V.                                  4:17-CV-00021-HLM

HILL-ROM COMPANY, INC.
and DEVIN ROSS PASCHAL,

Defendants.


                               ORDER

      This case is before the Court on Defendant Hill-Rom

Company, Inc.'s ("Defendant Hill-Rom"), Motion for Summary

Judgment [81],
     Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 2 of 60




I.       Background

        A. Preliminary Statement

         Keeping in mind that, when deciding a motion for

summary judgment, the Court must view the evidence and all

factual inferences in the light most favorable to the party

opposing the          motion, the Court         provides the      following

statement of facts. Strickland v. Norfolk S. Rv. Co., 692 F.3d

1151, 1154 (11th Cir. 2012).                 This statement does not

represent actual findings of fact. Rich v. Sec'v, Fla. Dep't of

Corr, 716 F.3d 525, 530 (11th Cir. 2013). Instead, the Court

has provided the statement simply to place the Court's legal

analysis in the context of this particular case or controversy.

         As required by the Local Rules, Defendant Hill-Rom

submitted a Statement of Material Facts ("DSMF").                      (Docket

Entry No. 81-2.)           As also required by the Local Rules,

Plaintiff David Scott ("Plaintiff') filed a response to DSMF
                                2
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 3 of 60




("PRDSMF").       (Docket Entry No. 89-1.)          The Local Rules

require the respondent to file responses "corresponding to

each of the movant's numbered undisputed material facts."

N.D. Ga. R. 56.1(2)a.(1).        Plaintiff responded to some, but

not all, of Defendant Hill-Rom's facts. Therefore, the Court

must deem each of Defendant Hill-Rom's facts admitted if

they are supported by the record citation provided.                See

Reese v. Herbert, 527 F.3d 1253, 1269 (11th Cir. 2008)

(explaining that, after deeming statement of undisputed facts

to be admitted, the court must review the citations to the

record to determine if there really is no genuine issue of

material fact); Lumbermen's Underwriting Alliance v. Blunt

Int'l, Inc., No. 3:05-cv-064-JTC, 2007 WL 7603709, at *1

(N.D. Ga. Feb. 5, 2007) ("Because                Defendant did      not

respond to Plaintiff's statement of additional facts, the Court

deems each       of   Plaintiff's statement      of additional     facts
                                  3
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 4 of 60




admitted where the fact is supported               by a citation to

evidence    proving    such fact.").       Defendant      Devin    Ross

Paschal ("Defendant        Paschal") also filed a response to

DSMF     ("Paschal     RDSMF").         (Docket      Entry   No.   90.)

Additionally, Plaintiff filed his own Statement of Material

Facts ("PSMF") (Docket Entry No. 89-1),^ to which Defendant

Hill-Rom responded ("DRPSMF") (Docket Entry No. 98) and

Defendant Paschal responded ("Paschal RPSMF") (Docket

Entry No. 99).        The Court evaluates DSMF, PRDSMF,

Paschal RDSMF, PSMF, DRPSMF, and Paschal RPSMF

infra. Where the Court cites to a proposed statement of fact,

but not the response, the Parties can conclude that the Court

deemed the fact supported and overruled any corresponding

objections to it.

^ Plaintiff filed an amended PSMF to correct one citation.
(Amended PSMF (Docket Entry Nos. 100-01).) The Court has
reviewed the citation.
                             4
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 5 of 60




     As an initial matter, the Court excludes PSMF U 4

because it offers a legal conclusion.             See N.D. Ga. R.

56.1B(2)b (stating that a nonmovant's "statement of material

facts must meet the requirements set out in LR 56.18(1)");

N.D. Ga. R. 56.18(1) ("The court will not consider any f a c t . .

. stated as an issue or legal conclusion.").                The Court

excludes PSMF U 6 because it is immaterial. See N.D. Ga.

R. 56.18(3) (stating that a valid objection to a statement of

additional material facts is "an objection on the ground that

the respondent's fact is not material. . . .").           Further, the

Court excludes PSMF       Iffl 22,   23, and 31 because those facts

are not supported by the evidence cited. See N.D. Ga. R.

56.18.(3) (stating that a valid objection to a statement of

additional material facts is "an objection pointing out that the

respondent's evidence does not support the respondent's

fact").   Finally, Defendant Paschal objects to DSMF H 4 as
                               5
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 6 of 60




not supported by competent evidence.             (Paschal RDSMF V

4.)    The Court sustains        Defendant      Paschal's     objection

because Defendant Hill-Rom only cites to the Complaint in

support of DSMF H 4. See N.D. Ga. R. 56.1 B.(1) ("The court

will not consider any fact . . . supported by a citation to a

pleading rather than to evidence.").

      B.   Factual Background

           1.   Events Leading to Collision

      On July 1, 2016 at approximately 3:40 a.m. on Interstate

24, at or near the Interstate 59 South Split, in Dade County,

Georgia,    Plaintiff   was    driving    his   tractor-trailer    truck

westbound in the left lane and was traveling about 100 yards

behind a vehicle driven by Tiffany Devon Pierce.              (DSMF ]

1.)   Defendant Paschal was driving the wrong direction on

Interstate 24, causing him to side-swipe Ms. Pierce's vehicle

and then crash head-on into Plaintiff's tractor-trailer truck.
                           6
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 7 of 60




( l i H 2.)   Plaintiff sustained non-life threatening physical

injuries. (Id, 113.)

      At the time of the accident, Defendant Paschal's driver's

license was suspended and revoked indefinitely by the State

of Tennessee.          (PSMF H 1; DRPSMF T| 1.) It had been

suspended for nearly seven months. (PSMF H 1; DRPSMF \

1.)

      At the time of the subject accident, Defendant Paschal

was driving a 2015 Dodge Ram van owned by Defendant

Hill-Rom.     (DSMF H 5.)         The vehicle was assigned to

Defendant Paschal by Defendant Hill-Rom as part of his

position as a Field Service Technician II. (Id, ^ 6; PSMF Tf

16; DRPSMF H 16 (admitting Defendant Paschal was given

access to a company vehicle).)           When Defendant Paschal

was given access to the van, he understood the vehicle was

to be used for the sole purpose of performing employment
                                   7
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 8 of 60




duties for Defendant Hill-Rom and for traveling to and from

work.   (DSMF H 7.)         Defendant Paschal understood that

personal use of any Defendant Hill-Rom company vehicle,

including the 2015 Dodge Ram van, was not authorized. (Id

U 8.)   Defendant Paschal also understood that he was not

permitted to use any Defendant Hill-Rom company vehicle,

including the 2015 Dodge Ram van, after consuming alcohol

or illegal drugs. (Id, U 9.)

     After completing       all of   his   employment       duties   for

Defendant Hill-Rom on June 30, 2016, Defendant Paschal

left work and, as permitted, drove the 2015 Dodge Ram van

owned by Defendant Hill-Rom home.              (DSMF H 10.)^ After



^ Defendant Paschal testified that he left work and went to
Softball practice on June 30, 2016. (Dep. of Devin Ross Paschal
(Docket Entry No. 85) at 84-86.) However, Defendant Paschal
admitted that GPS data taken from the van shows that he did not
stop, before traveling from work to home, to play softball on June
30, 2016. (jd, at 105-08.) Defendant Paschal also admitted that
                                8
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 9 of 60




spending some time at home, Defendant Paschal drove the

2015 Dodge Ram van owned by Defendant Hill-Rom from

his house to a restaurant to meet some friends for dinner.

( I d H 11.) According to Defendant Paschal, going to dinner

with his friends was purely personal and had no connection

to Defendant Hill-Rom business,             ( j d H 12.)     Defendant

Paschal understood that he was in violation of company

policy when he drove to have dinner with his friends.

(Paschal Dep. at 88, 120.)

     Defendant Paschal does not remember anything that

happened after dinner with his friends on June 30, 2016.


he could be mistaken about stopping to play softball before going
home, and that he doesn't remember actually playing softball
that day. (Id at 108, 112.) Further, Defendant Paschal agreed
that he was "just assuming that [he] went to softball" because he
later had dinner with certain people. (Id at 112.) Finally,
counsel asked Defendant Paschal, "[pjrior to this accident, you
had completed all of your Hill-Rom employment duties and
driven the van home from work, is that right[.]" (Id at 119.)
Defendant Paschal responded, "[y]es, sir." (Id)
                                9
Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 10 of 60




(DSMF H 14.)        However, Defendant Paschal admits that

whatever he was doing was purely personal and had no

connection to Defendant Hill-Rom business.              (Paschal Dep.

at 113, 119-21.) According to GPS data for the 2015 Dodge

Ram van. Defendant Paschal left dinner with his friends and

drove    the   vehicle    to       downtown       Chattanooga,          hear

restaurants and bars.       (DSMF TJ 15.)         Defendant Paschal

admits that his trip downtown would have been for personal,

not business reasons. (Paschal Dep. at 113-14.)

    According to GPS data for the 2015 Dodge Ram van.

Defendant      Paschal      left     downtown         Chattanooga          at

approximately 2:40 a.m. on July 1, 2016.                (DSMF H 17.)

Defendant Paschal has no recollection of where he went, but

acknowledged that any trip he made at this point was for

purely   personal    purposes        with    no   connection       to     his

employment     duties.      (Paschal        Dep. at    119-121,         125.)
                                10
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 11 of 60




Several exchanges during Defendant Paschal's deposition

illustrate this point:

     Q: You understand at the time of the accident, you
     were operating the vehicle for a purpose that was
     prohibited, being a personal purpose, is that right?

     A: Yes.




     Q: You agree you were in violation of Hill-Rom
     company policy with respect to personal use of the
     Hill-Rom van at the time of the accident?

     A: Yes.




     Q: So I just want to be clear: But you would agree
     that Hill-Rom did not approve of the purpose for
     which you were using the vehicle at the time of the
     accident, correct?

     A: Correct.

( i d at 120-21, 125.)




                                   11
Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 12 of 60




           2.     Being On-Call

       Defendant Paschal testified that he was on-call the night

of the accident. (DSMF 1[ 19, as modified per Paschal Dep.

at 41-44.)      Defendant Paschal testified that he remembers

calling Defendant Hill-Rom's call center to place himself on-

call for the night of the crash.           (Paschal Dep. at 69.)

However,        Defendant   Hill-Rom's   corporate     representative

testified that Defendant Paschal was not on-call the night of

the crash. (Dep. of Robert Barber (Docket Entry No. 86) at

13.)    The time card in the computer—which indicates who

received on-call pay at the time of the crash—shows that

Michael Savor, rather than Defendant Paschal, was on call

the night of the crash,      (jd, at 45-46.)     Defendant Paschal

agreed that if the computer "showed somebody else, that

other person would be on call."            (Paschal Dep. at 104.)

However, later in that same deposition. Defendant Paschal
                            12
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 13 of 60




asserted that      nothing    had   caused     him to     change        his

testimony that he was on-call the night of the crash,               (jd, at

124.)

     The job of a Defendant Hill-Rom employee on-call for

any given night was to provide repairs or deliveries to the

hospital when the hospital ordered it.               (PSMF H 5, as

modified per DRPSMF H 5.) While on-call, a Defendant Hill-

Rom employee was paid for being available and responding

if he received a call.       (Paschal Dep. at 43.)        When asked

whether it was his "job that night to be driving a company

vehicle," Defendant Paschal responded, "[y]es, sir."                ( I d at

60.) Later, when asked whether he could stay at home while

on-call, or whether he "ha[d] to be out driving around,"

Defendant Paschal clarified, "[n]o. No, sir. You can do—it's

personal time until you get that call." (jdl at 125-26.)



                                    13
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 14 of 60




     Defendant Paschal was responsible for responding to

calls within a 100-mile radius from Chattanooga, Tennessee

within four hours of receiving the call.           (PSMF IfH 11-12;

DRPSMF           11-12.)    Defendant Paschal testified that;lhe

was within four hours of answering a call within a 100-mile

radius of Chattanooga the night of the collision.              (Paschal

Dep. at 126.)

     The Plaintiff Hill-Rom employee on-call for the night

would receive a text message notifying them of a call.

(PSMF H 8, as modified per DRPSMF H 8 and Paschal

RPSMF U 8.)       Robert Frantzen testified that the call would

come in from the Defendant Hill-Rom call center in the form

of a scrambled number the employees could recognize.

(Dep. of Robert Franzten (Docket Entry No. 87) at 19.)

Defendant Hill-Rom obtained Defendant Paschal's phone

records and determined that "[t]he text messages to and
                          14
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 15 of 60




from [Defendant] Paschal's cell phone on the night of the

subject accident were not from a [Defendant] Hill-Rom call

center." (Ded. of Robert Barber (Docket Entry No. 97-1) H 9;

Barber Dep. at 29; see also Phone Records, Ex. 7 (Docket

Entry No. 89-1) at 000008-9; Phone Records, Ex. 4 (Docket

Entry No. 98-1).)

     The phone records show Defendant Paschal sent and

received messages from four different numbers during the

relevant time period. (Phone Records, Ex. 7 (Docket Entry

No. 89-1) at 000008-9.)           Defendant Hill-Rom's corporate

representative testified that two of those numbers are not

associated with Defendant Hill-Rom's call center, nor with a

Defendant      Hill-Rom     Employee.         (Barber    Decl.      H 9.)

However, his Declaration does not address the other two

numbers, which Plaintiff identifies as "scrambled."                  (IdL;

PSMF H 10; see also Phone Records, Ex. 7 at 000008-9.)
                          15
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 16 of 60




     Defendant Paschal stated that he did not receive or

respond to any calls from Defendant Hill-Rom the night of the

collision.   (Id, at 126-27.f      Defendant Hill-Rom's dispatch

records indicate that a call came in at 10:14 p.m. the night of

the crash. (Dispatch Record (Docket Entry No. 81-6).) Due

to the nature of the call—rental removals—it did not result in

any on-call employee being dispatched to the hospital.

(Barber Decl. H l.f       Instead, it resulted in two work-orders




^ Defendant Paschal also testified, in the same deposition, that
he does not recall if he got a call on the night of the collision.
(Paschal Dep. at 43.) However, "[t]estimony of a witness that he
does not remember does not contradict positive testimony that
such event took place." Gibbons v. Nat'l Union Fire Ins. Co. of
Pittsburgh, PA, No. 2:14-CV-586 JCM (VCF), 2015 WL 2345533,
at *3 (D. Nev. May 15, 2015) (citation omitted). The same rule
should apply to positive testimony that an event d/d not take
place.
^ When testifying about what calls to which an employee must
respond. Defendant Paschal stated, "[i]t usually was deliveries
and repairs. And any pick ups could wait 24 hours. So we never
worried about pick ups.       Just worried on our repairs and
deliveries." (Paschal Dep. at 70.)
                                16
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 17 of 60




that were completed at 1:12 p.m., the following day, July l ,

2016.     (14)
            3.    Driver Disqualification Policy

     Under       Defendant    Hill-Rom's     Driver     Disqualification

Policy,     a    "Company      documented        occurrence         and/or

conviction" for driving fifteen miles an hour or more over the

speed limit would qualify as a "serious traffic violation."

(Driver Disqualification Policy (Docket Entry No. 81-14) at 3.)

The penalty for such first occurrence would be "[v]erbal

counseling and/or written notification of the infraction" on the

"Employee's Personnel file."         (\± at 5.)       Under the Driver

Disqualification    Policy,   a   Defendant      Hill-Rom     employee

would be permanently prohibited from driving a company

vehicle with convictions for two serious traffic violations

within any three year period, ( j d at 6; PSMF H 27; DRPSMF

1127.)
                                   17
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 18 of 60




     Defendant      Hill-Rom's     Driver    Disqualification       Policy

defines what constitutes dangerous driving:

     Operating any motor vehicle in a manner that, in
     the Company's judgment, unreasonably endangers
     any person or property, regardless of whether such
     operation results in the issuance of citation by
     state, county or local police for misdemeanor
     reckless driving or any other moving violation.

     Dangerous driving may include, but is not limited to
     an[y] of the following (regardless of whether the
     operator receives a conviction of a Serious Traffic
     Violation): driving too fast, weaving in and out of
     traffic, failing to stop at posted intersections or
     properly yield to pedestrians or other vehicles, or
     otherwise demonstrating disregard for the safety of
     the operator, vehicle and/or general public.

(Driver Disqualification Policy at 2-3.)

     Defendant Hill-Rom's Driver Disqualification Policy also

had guidelines for employees who have had their license

suspended:

     A Field Service Employee who cannot perform
     essential job functions involving the operation of a
     motor vehicle as a result of the temporary
                              18
Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 19 of 60




    revocation (i.e. ninety (90) days or less),
    suspension, withdrawal, or denial of an operator's
    license, permit or privilege (for reasons other than
    conduct prohibited by this SOP) shall be
    temporarily prohibited from performing          such
    driving-related job functions until the Employee's
    license permit or privilege is restored. In such
    event, the Employee shall be assigned temporarily
    to tasks that do not require the operation of any
    motor vehicle and/or (if non-driving work is
    unavailable) may be temporarily relieved from work
    without pay. If an Employee's operator's license,
    permit or privilege is expected to remain revoked
    for more than ninety (90) days, the Employee shall
    be removed from his or her job and granted a thirty
    (30) day unpaid leave of absence during which time
    he or she may apply for other open positions in the
    Company that do not require operating a motor
    vehicle.     If the Employee is unsuccessful in
    securing such a position by the end of this thirty
    (30) day period, the Employee shall be terminated.

( i d at 6-7; see also PSMF HH 24-25; DRPSMF HH 24-25.)

    Under     Defendant       Hill-Rom's     driver    disqualification

policies. Defendant Paschal was required to report any cited

driving violations to Robert Frantzen within ten days of



                                  19
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 20 of 60




occurrence. (DSMF H 35; PSMF H 26; DRPSMF H 26; Driver

Disqualification Policy at 3.)

           4.    Defendant Paschal's Employment

     Defendant Paschal was hired by Defendant Hill-Rom in

2013. (DSMF U 22.) The job description for a field service

representative requires that the person driving a Defendant

Hill-Rom vehicle have a valid driver's license. (Service Rep.

Req. (Docket Entry No. 101-1) at 3.)            As part of its hiring

process,    Defendant       Hill-Rom     conducted      a   check   on

Defendant Paschal's driving history prior to allowing him to

drive a company vehicle. (DSMF TJ 23.) The Motor Vehicle

Record obtained by Defendant Hill-Rom at the time of

Paschal's hire confirmed he had a valid driver's license and

received two prior driving related violations within the last

three years, ( j d H 24.) In 2011, Defendant Paschal received

a citation for driving twenty miles over the speed limit, and, in
                               20
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 21 of 60




2012, he was involved in an accident that caused property

damage.        (Id, K 25.)      Defendant        Hill-Rom's     corporate

representative testified that Company Policy 7.5.4 would not

have    prohibited    Defendant        Paschal     from   operating    a

company vehicle upon his hiring in 2013 because it required

convictions for two serious traffic violations within a three

year period for disqualification, which Defendant Paschal did

not have. (Barber Dep. at 47-48.)

       Defendant Hill-Rom conducted a background check on

Defendant Paschal, which included searching both federal

and    state   criminal   records,      researching     education     and

employment background, and contacting prior employers;

the    background      check     did     not   reveal     any    criminal

convictions.         (DSMF      H      27.)      Defendant       Paschal

contradictorily contends both that he did and did not inform

Defendant Hill-Rom that he was arrested in 2011 for DWI.
                           21
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 22 of 60




(Paschal Dep. at 13, 15, 17-20.)              Defendant       Hill-Rom's

corporate representative contends that it had no knowledge

of any arrests upon hiring Defendant Paschal. (Barber Dep.

at 25, 35.)

     Defendant Hill-Rom required Defendant Paschal to go

through driver training prior to driving any of Defendant Hill-

Rom's vehicles. (DSMF H 28.) Defendant Paschal's training

included computer software safety training and "ride alongs"

with his immediate supervisor that were graded.               (\± H 29.)

Defendant      Paschal was       required    to   regularly    complete

training throughout his employment with Defendant Hill-Rom

as well. (Id, Tf 30.) Based on Defendant Hill-Rom's training

records.      Defendant   Paschal       completed    more     than   600

training lessons throughout his employment with Defendant

Hill-Rom. (ld,TI31.)



                                   22
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 23 of 60




     Defendant      Hill-Rom     conducted      a   yearly   check   of

Defendant Paschal's driving history while he was employed

with the company. (DSMF H 32.) When Defendant Hill-Rom

conducted Defendant Paschal's 2014 MVR review, he had a

valid license and there were no new citations. (Id, H 33.)

     On June 2, 2015, while driving a Defendant Hill-Rom

company vehicle, Defendant Paschal was arrested for a

suspended or revoked license, and Defendant Hill-Rom had

to retrieve its vehicle. (PSMF H 20; DRPSMF H 20 (admitting

this statement); Daecher Dep. at 73; Barber Dep. at 37-39.)^




^ Defendant Paschal testified that Defendant Hill-Rom never
suspended nor curtailed his driving privileges, nor did it ever
discipline, counsel, or write up Defendant Paschal during his
employment. (Paschal Dep. at 28, 56.) However, Defendant
Paschal's supervisor, Steve Bice, testified that Defendant
Paschal was not allowed to drive the company vehicle until he
got his license reinstated after the June 2, 2015, arrest. (Dep. of
Steve Bice (Docket Entry No. 88) at 65.) Hill-Rom's corporate
representative also testified that Defendant Paschal's driving
                                  23
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 24 of 60




        Defendant Paschal's 2015         MVR was requested            on

August 6, 2015. (2015 MVR (Docket Entry No. 81-13) at 2;

Frantzen Dep. at 35.)           Defendant Paschal's 2015 MVR

review revealed that he was cited for driving fifteen miles

over the speed limit, and for improper backing into a vehicle,

and additionally that he had his license suspended twice—

once from December 8, 2014, to January 2, 2015, and

another time from January 9, 2015, to July 22, 2015.                (2015

MVR (Docket Entry No. 81-13) at 3; PSMF H 19; DRPSMF ^

19.)^    Mr Frantzen testified that, in his review of Paschal's

2015 driving record, he overlooked the new citations and did



privileges were temporarily suspended after the June 2, 2015
arrest. (Barber Dep. at 51.)
^ The 2015 MVR also shows failure to show proof of insurance
on August 24, 2014, expired/no license on August 24, 2014,
failure to answer/pay original violation on August 24, 2014,
failure to answer/pay original violation case number: D376633 on
August 24, 2014, and failure to appear trial/court case number
D376633 on August 24, 2014. (2015 MVR at 3.)
                                 24
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 25 of 60




not note them on Defendant Paschal's violation and review

record. (DSMF H 37; Frantzen Dep. at 30-31.)

        Defendant     Paschal    failed   to   report    each       driving

violation he was cited with during his employment. (Frantzen

Dep. at 30; DSMF H 36; PSMF H 29; DRPSMF H 29.)

Defendant Paschal was never disciplined for his failure to

report driving violations to Defendant Hill-Rom. (Bice Dep. at

56-57; Frantzen Dep. at 3 1 ; Barber Dep. at 41.)

       Defendant     Paschal's     license     was    suspended         on

October 8, 2015 for failing to file an owner/operator report,

which he was required to do as a result of an improper

backing charge. (DSMF 1141.)

       Defendant Paschal testified that he was promoted to

Field Services Tech II in October 2015. (Paschal Dep. at 28-

30.)      Defendant       Hill-Rom's      corporate     representative

contends that the decision to promote Defendant Paschal
                            25
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 26 of 60




was made on May 25, 2016, while the effective date of

promotion was June 14, 2016.               (Barber Dep. at 42-43;

Executed Errata Sheet (Docket Entry No. 98-2) at lines 2 1 -

22.) In addition to promoting Defendant Paschal, Defendant

Hill-Rom decided to give him a company vehicle to take back

and forth from home to work, whereas originally. Defendant

Paschal had to drive his personal car to work and then pick

up his company vehicle for the job. (Frantzen Dep. 11-12.)

       Defendant     Hill-Rom     was     scheduled        to     conduct

Defendant Paschal's 2016 MVR review in August 2016.

(DSMF U 39.)         When Mr. Frantzen reviewed                 Defendant

Paschal's 2016 MVR a few days after the subject accident, it

revealed that Defendant Paschal did not have a valid license.

(See 2016 MVR (Docket Entry No. 89-1 at 97); Frantzen

Dep.    at 30-31.)       Thus,    Defendant      Paschal        drove   the



                                   26
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 27 of 60




company vehicle while his license was suspended.                (Barber

Dep. at 51.)

       Defendant Hill-Rom did not have knowledge of the

October 8, 2015 suspension until after the subject accident.

(DSMF U 42.) Defendant Paschal was required to report his

suspended license to Mr. Frantzen, but never did so. (jd, \

43.)

            5.   Arrests

       In August of 2014, Defendant Paschal was arrested for

the improper backing charge.             (Paschal Dep. at 24-25.)

Defendant Paschal was arrested twice for public intoxication

while employed by Defendant Hill-Rom. (PSMF H 17.)

       C.   Procedural Background

       Plaintiff filed this lawsuit on February 3, 2017. (Compl.

(Docket Entry No. 1).) Defendant Hill-Rom filed its Motion for

Summary Judgment on November 29, 2017. (Mot. Summ. J.
                        27
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 28 of 60




(Docket Entry No. 81).) Defendant Hill-Rom seeks an entry

of summary judgment concerning Plaintiff's claims of (1)

respondeat      superior,      (2)     negligent     hiring,   training,

supervision, and retention, (3) negligent entrustment, (4)

negligent      driving      qualifications,        contracting,     and

maintenance, (5) gross negligence, (6) negligence per se,

and (7) punitive damages.            (Def.'s Br. Supp. Mot. (Docket

Entry No. 81-1) at 1-2.)

      The briefing process for the Motion is complete, and the

Court finds that the matter is ripe for resolution.

II.   Standard

      Federal Rule of Civil Procedure 56(a) allows a court to

grant summary judgment when "there is no genuine dispute

as to any material fact and the movant is entitled to a

judgment as a matter of law."           Fed. R. Civ. P. 56(a).      The

party seeking summary judgment bears the initial burden of
                          28
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 29 of 60




showing the Court that summary judgment is appropriate and

may satisfy this burden by pointing to materials in the record.

Jones V. UPS Ground Freight 683 F.3d 1283, 1292 (11th

Cir. 2012). Once the moving party has supported its motion

adequately, the burden shifts to the non-movant to rebut that

showing by coming forward with specific evidence that

demonstrates the existence of a genuine issue for trial. Jd,

When evaluating a motion for summary judgment, the Court

must view the evidence and draw all reasonable factual

inferences in the light most favorable to the party opposing

the motion. Morton v. Kirkwood, 707 F.3d 1276, 1280 (11th

Cir. 2013); Strickland, 692 F.3d at 1154.             The Court also

must "resolve all reasonable doubts about the facts in favor

of the non-movant." Morton, 707 F.3d at 1280 (internal

quotation marks and citations omitted).            Further, the Court

may not make credibility determinations, weigh conflicting
                                   29
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 30 of 60




evidence to resolve disputed factual issues, or assess the

quality of the evidence presented.          Strickland. 692 F.3d at

1154.       Finally,   the    Court      does    not   make         factual

determinations. Rich, 716 F.3d at 530.

III.   Discussion

       A.   Respondeat Superior

       Defendant Hill-Rom argues that it cannot be held liable

under the doctrine of respondeat superior because, at the

time of the collision. Defendant Paschal was acting outside

the scope of his employment.            (Def.'s Br. Supp. Mot. at 9.)

Plaintiff argues that the evidence creates a jury question as

to whether Defendant Paschal was acting within the scope of

his employment at the time of the collision. (PL's Resp. Br.

(Docket Entry No. 89-2) at 7.)              The Court agrees with

Defendant Hill-Rom that the evidence shows that Defendant



                                   30
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 31 of 60




Paschal was acting outside the scope of his employment at

the time of the collision.

     "[I]n determining the liability of the master for the

negligent or wilful acts of a servant, the test of liability is, not

whether the act was done during the existence of the

employment, but whether it was done within the scope of the

actual employment." Doe v. Vill. of St. Joseph, Inc., 202 Ga.

App. 614, 616, 415 S.E.2d 56, 57 (1992) (internal quotation

marks and citation omitted).            "If the tortious act were

committed not by reason of employment, but rather for purely

personal reasons disconnected from the authorized business

of the master, the master would not be liable." jdL (alteration,

internal quotation marks, and citation omitted); see also

Piedmont Hosp., Inc. v. Palladino. 276 Ga. 612, 613-14, 580

S.E.2d 215, 217 (2003) ("If a tortious act is committed not in

furtherance of the employer's business, but rather for purely
                             31
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 32 of 60




personal reasons disconnected from the authorized business

of the master, the master is not liable."          (internal quotation

marks, alterations, footnote and emphasis omitted)).

     "It is a recognized principle under Georgia law that when

an employee is involved in a collision, while operating his

employer's vehicle, a presumption arises that he is acting

within the scope of his employment."           Gordy Constr. Co. v.

Stewart, 216 Ga. App. 882, 882, 456 S.E.2d 245, 246

(1995). "Once this presumption arises the burden then shifts

to the employer to rebut the presumption by evidence that is

clear,   positive   and   uncontradicted      and that shows        the

servant was not in the scope of his employment." I d at 882-

83, 456 S.E.2d at 246; see also Fuller v. C h a r t e r s . , Inc., 216

Ga. App. 211, 212, 453 S.E.2d 754, 755-56 (1995) ("Where

a vehicle is involved in a collision, and evidence shows that

the vehicle is owned by the employer of the driver, a
                                   32
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 33 of 60




presumption is raised that the driver was in the scope of his

employment at the time of the collision, placing the burden

on the employer to show otherwise.").

     The Georgia Supreme Court has given guidance on

how to treat an employee who was on-call for purposes of

respondeat superior liability:

     A statement that an employee is "on call" at the
     time of an accident points directly only to the
     question of whether the employee was or was not
     subject to call. It only proves, without inference or
     presumption, that an employee could be called to
     duty at that time. On the other hand, to show that
     an employee was acting in the scope of her
     employment, evidence that the employee was "on
     call" must be coupled with an inference or
     presumption that the employee had, in fact, been
     called to duty and was acting pursuant to that duty
     at the time of an accident.

Hicks V. Heard, 286 Ga. 864, 868, 692 S.E.2d 360, 363

(2010).




                                   33
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 34 of 60




     It is undisputed that, at the time of the                 collision.

Defendant Paschal was acting not in furtherance of the

authorized business of his master, but for purely personal

reasons.      Defendant     Paschal's testimony to that effect

illustrates this point.    Whatever memory lapses Defendant

Paschal may have had about the night, he was sure that his

entire venture on the night of the collision in his company

vehicle was purely personal.            He reiterated this multiple

times concerning the exact time of the collision. Therefore,

Defendant     Hill-Rom     has   rebutted    the   presumption       that

Defendant Paschal was acting within the scope of his

employment simply because he was driving a company

vehicle.

     Although     a jury     would    be    permitted    to   find   that

Defendant Paschal was on-call, he testified that he did not

receive or respond to any calls that night. The only call that
                             34
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 35 of 60




came to Defendant Hill-Rom's call center during the relevant

time period occurred five hours before the collision and did

not result in any person on-call being dispatched. Thus, the

evidence shows that Defendant Paschal had not been called

to duty.

       Even if Defendant Paschal had been called to duty, his

testimony makes clear that he was not acting pursuant to

that duty at the time of the collision.           Graham v. City of

Duluth, 328 Ga. App. 496, 5 0 1 , 759 S.E.2d 645, 650 (2014)

("Under Georgia law, if a servant steps aside from his

master's business to do an act entirely disconnected from it,

and injury to another results from the act, . . . the master is

not liable." (internal quotation marks and citation omitted)).

This    same    reasoning      applies    to   Defendant      Paschal's

statement that he was within four hours of answering a call

that night. Defendant Paschal's testimony makes clear that,
                           35
Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 36 of 60




at the time of the collision, he was not pursuing a call or any

authorized business purpose; he was on a purely personal

mission.    Thus, at the relevant time period.              Defendant

Paschal was outside the scope of his employment. Id,

    Plaintiff argues     Defendant      Paschal's     phone    records

show that he may have received a call from Defendant Hill-

Rom close in time to the collision, and thus may have been

pursuing Defendant Hill-Rom's business at the time of the

collision. (PSMF HU 8-10; PL's Resp. Br. (Docket No. 89-2)

at 10-11; see also Clo White Co. v. Lattimore, 263 Ga. App.

839, 839, 590 S.E.2d 3 8 1 , 383 (2003) (holding that a jury

issue   existed    because      "evidence      here    supports    the

conclusion that Pilgrim may have actually been on the phone

regarding matters of company business at the time of the




                                  36
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 37 of 60




accident' (emphasis in original)).       However, this possibility is

negated by Defendant Paschal's testimony that he did not

receive or respond to a call from Defendant Hill-Rom the

night of the collision. Whoever the recipient and receiver of

Defendant Paschal's text messages may be, his testimony

shows that they were not associated with Defendant Hill-

Rom.      Further, even assuming           he did receive a call.

Defendant Paschal unequivocally testified that he was not

pursuing Defendant Hill-Rom business at the time of the




  The Court agrees with Defendant Hill-Rom that "Plaintiff has no
evidence what this 'scrambled number' is or any indication that it
is associated with [Defendant] Hill-Rom." (Def.'s Br. Supp. Mot.
at 5.) The assertion that the numbers are associated with
Defendant Hill-Rom amounts to speculation, which is not enough
to escape summary judgment. See Vega v. Invsco Grp. Ltd.,
432 F. App'x 867, 869-70 (11th Cir. 2011) ("Although . . . the
district court, assess[es] the evidence in the light most favorable
to the nonmoving party, the nonmoving party cannot create a
genuine issue of material fact through speculation, conjecture, or
evidence that is 'merely colorable' or 'not significantly probative.'"
(citation omitted)).
                                 37
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 38 of 60




crash.        Therefore, he was acting outside the scope of his

employment. Graham. 328 Ga. App. at 5 0 1 , 759 S.E.2d at

650 ("Under Georgia law, if a servant steps aside from his

master's business to do an act entirely disconnected from it,

and injury to another results from the act, . . . the master is

not liable." (internal quotation marks and citation omitted)).

Accordingly, because Defendant Paschal was not acting

within the scope of his employment, the Court will enter

summary judgment on Plaintiff's respondeat superior claim.

        B.        Negligent   Hiring,        Retention,   Training       and
                  Supervision

        Defendant Hill-Rom contends that Plaintiff's negligent

hiring, retention, training, and supervision claims fail because

the evidence shows that Defendant Paschal's actions on the

night        of    the   collision   were     wholly   unrelated    to   his

employment. (Def.'s Br. Supp. Mot. at 12.) Plaintiff argues

                                        38
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 39 of 60




that he has presented sufficient evidence to create a jury

issue concerning whether Defendant Paschal was acting

under the color of employment at the time of the collision.

(PL's Resp. Br. at 12.) The Court agrees with Defendant Hill-

Rom.

     Georgia courts "have recognized that an employer may

be liable for hiring or retaining an employee the employer

knows or in the course of ordinary care should have known

was not suited for the particular employment."                 Munroe v.

Universal Health Servs., Inc., 277 Ga. 8 6 1 , 862, 596 S.E.2d

604, 605 (2004).       However, "liability does not attach if the

employee      committed      the   tort    in    a   setting   or   under

circumstances       wholly     unrelated        to   his   employment."

Graham, 328 Ga. App. at 506, 759 S.E.2d at 653.                     "The

question is not whether the servant was acting within the

scope of his authority, but whether in view of his known
                            39
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 40 of 60




characteristics such an injury by him was reasonably to be

apprehended or anticipated."         Id, (internal quotation marks

omitted).      "Still, the act must be committed 'within the

tortfeasor's    working      hours      or   under     the    color   of

employment.'" Id, (citations omitted).

     Georgia courts have specifically provided guidance in

the situation where an employee gets into a vehicle collision

with a person who has no relation to the employer:

     In order for an employer to be liable for an
     automobile accident under the theory of negligent
     hiring and retention where, as here, the allegation
     is that the employee had a bad driving record and
     where the injured driver was merely a member of
     the general public on the public highway, "the
     accident could not have occurred while the
     employee was simply commuting to work but had
     to occur while the employee was engaged in [the
     employer's] business."

Dougherty Equip. Co. v. Roper. 327 Ga. App. 434, 438, 757

S.E.2d 885, 889 (2014) (alteration in original) (quoting Video

                                   40
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 41 of 60




Warehouse. Inc. v. Southern Trust Ins. Co., 297 Ga. App.

788, 790, 678 S.E.2d 484, 487 (2009)).

     The collision happened under circumstances                     wholly

unrelated to Defendant Paschal's employment.              Plaintiff was

a member of the general public. Further, Defendant Paschal

was not engaged in any business for Defendant Hill-Rom at

the time of the collision. See discussion supra Section III. A.

It makes     no difference to the          Court's    conclusion      that

Defendant Paschal was on-call at the time of the collision,

because he had not been called to duty and was not acting

pursuant to that duty.       Dougherty Equip., 327 Ga. App. at

436-48, 757 S.E.2d at 888-89 (granting summary judgment

to employer on negligent hiring and retention claim when

employee, driving a company van, hit the plaintiff, even

though employee was an on-call technician).                    Because

Defendant Paschal was not engaged in his                    employer's
                        41
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 42 of 60




business at the time of the collision, the Court need not

address whether Defendant Hill-Rom knew or should have

known whether he was an allegedly incompetent driver. The

Court finds that Defendant Hill-Rom is entitled to summary

judgment on this claim.

       0.   Negligent Entrustment

       Defendant Hill-Rom argues it is entitled to summary

judgment on Plaintiff's negligent entrustment claim because

it did not have actual knowledge of Defendant Paschal's

alleged pattern of reckless driving. (Def.'s Br. Supp. Mot. at

14.)    Plaintiff contends that Defendant Hill-Rom did have

actual knowledge of Defendant Paschal's alleged dangerous

and unsafe driving history. (PL's Resp. Br. at 18.) The Court

finds that a reasonable juror could find that Defendant Hill-

Rom had actual knowledge of Defendant Paschal's history of

driving incompetence.
                                   42
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 43 of 60




     "Under the doctrine of negligent entrustment, a party is

liable if he entrusts someone with an instrumentality, with

actual knowledge that the person to whom he has entrusted

the instrumentality is incompetent by reason of his age or

inexperience, or his physical or mental condition, or his

known habit of recklessness." Gunn v. Booker, 259 Ga. 343,

346, 381 S.E.2d 286, 290 (1989) (footnote omitted). "It is not

sufficient . . . for a plaintiff to show constructive knowledge,

i.e., that the entrustor should have known the person being

entrusted was not competent."           Carolina Cable Contractors.

Inc. V. Hattawav, 226 Ga. App. 413, 415, 487 S.E.2d 53, 54

(1997).   "The entrustor is not liable 'merely because [he or

she], by the exercise of reasonable care and diligence, could

have ascertained the fact of the incompetency of the driver.'"

I d 487 S.E.2d at 55 (alteration in original) (quoting Roebuck



                                   43
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 44 of 60




V. Payne. 109 Ga. App. 525, 526, 136 S.E.2d 399, 401

(1964)).

      "This is not to say that circumstantial evidence cannot

be used to prove actual knowledge."                 Carolina Cable. 226

Ga. App. at 416, 487 S.E.2d at 55. "The entrustor's denial of

having      knowledge         that the   driver was       incompetent    or

habitually reckless shifts the burden to the plaintiff to set forth

specific facts showing a genuine fact issue."                  Upshaw v.

Roberts Timber Co.. 266 Ga. App. 135, 138, 596 S.E.2d 679,

682 (2004) (citing Carolina Cable. 226 Ga. App. at 414, 487

S.E.2d at 54). "The plaintiff carries this burden by pointing

out    'evidence         of    actual   knowledge    of    a   pattern   of

[incompetence] or facts from which such knowledge could be

reasonably inferred in order to preserve the issue for jury

determination.'" j d (quoting Carolina Cable. 226 Ga. App. at

416, 4 8 7 S . E . 2 d a t 5 5 ) .
                                        44
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 45 of 60




     A factfinder may infer that an inquiry into an employee's

driving record would impart knowledge upon the employer of

what appears within that driving record. See Ed Sherwood

Chevrolet. Inc. v. McAulev. 164 Ga. App. 798, 802, 298

S.E.2d 565, 569 (1982) (citing Barnes v. Allen Kane's Maior

Dodge. Inc.. 148 Ga. App. 332, 334, 250 S.E.2d 876, 878-79

(1978) (reversed in Allen Kane's             Maior Dodge. Inc. v.

Barnes. 243 Ga. 776, 777, 257 S.E.2d 186, 188 (1979), as to

the respondeat superior theory, but not as to negligent

entrustment theory)); see also Thomason v. Harper. 162 Ga.

App. 4 4 1 , 450-51, 289 S.E.2d 773, 783 (1982). The same is

true even if the employer denies knowledge of the contents

contained therein. Clarke v. Cox. 197 Ga. App. 83, 83, 397

S.E.2d 598, 599-600 (1990) ("This court has previously

noted that a plaintiff generally must rely upon circumstantial

evidence in this type of case, and that                  circumstantial
                                   45
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 46 of 60




evidence can support a finding of actual knowledge if it is

incompatible with the direct and positive testimony denying

actual knowledge."); Ed Sherwood Chevrolet, 164 Ga. App.

at 801-02, 298 S.E.2d at 568-69.

       Defendant Hill-Rom states that Mr. Frantzen,                 upon

review of Defendant Paschal's 2015 MVR, overlooked every

new violation contained within that report.              However—as

case     law   demonstrates—because            Defendant       Hill-Rom

reviewed his 2015 MVR, a reasonable juror could find that

Hill-Rom had actual knowledge of the citations, violations,

and suspension contained therein.             Therefore, taking the

evidence in the light most favorable to Plaintiff, a reasonable

juror could find that Defendant Hill-Rom knew Defendant

Paschal (1) was arrested in 2011 for DWI; (2) was cited in

2011 for going twenty miles over the speed limit (which, with

a conviction, would constitute a serious traffic violation under
                              46
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 47 of 60




the Driver Disqualification Policy); (3) was involved in 2012 in

an accident causing property damage; (4) was arrested on

June 2, 2015 for a suspended or revoked license (and

subsequently, Defendant Hill-Rom had to go and pick up

Defendant Paschal's company vehicle); (5) was cited in 2015

for driving fifteen miles over the speed limit (which, with a

conviction, would constitute a serious traffic violation under

the Driver Disqualification Policy); (6) was cited in 2015 for

improper backing into a vehicle; and (7) had his license

suspended twice while working for Defendant Hill-Rom (and

one   of those     suspensions       would    have    mandated      that

Defendant Paschal be removed from his job driving for

Defendant Hill-Rom).         Defendant Hill-Rom possessed this

knowledge before the collision, and even before it promoted

Defendant Paschal and gave him greater access to the

company vehicle. This evidence is sufficient to pose a jury
                                   47
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 48 of 60




question as to wliether          Defendant      Hill-Rom    negligently

entrusted the company vehicle to Defendant Paschal before

the collision.^   Therefore, the Court denies Defendant Hill-

Rom's request for an entry of summary judgment on this

claim.

     D.    Negligent Maintenance, Driving Qualifications,
           and Contracting

     Defendant Hill-Rom states that Plaintiff has not pleaded

any facts regarding "mechanical defects of the                      subject

vehicle, and there is no evidence in record of any mechanical

defects before the accident."        (Def.'s Br. Supp. Mot. at 17.)

Defendant Hill-Rom also contends that "Plaintiff's claims for

negligent driving qualifications and contracting are as equally


" The Court is not persuaded by Defendant Hill-Rom's citations
to Spencer V. Gary Howard Enters., Inc., 256 Ga. App. 599, 568
S.E.2d 763 (2002), and Marques v. Ross, 105 Ga. App. 133, 123
S.E.2d 412 (1961). This case presents facts demonstrating
knowledge of a greater pattern of recklessness on the part of the
employer, and thus, is distinguishable from the two former cases.
                                48
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 49 of 60




unsupported," that "Plaintiff has failed to even demonstrate

such claims exist under Georgia law," and that "in the

Complaint,      Plaintiff        merely      lists    the   claims      with    no

accompanying allegations."                   (Id.)    Plaintiff has failed to

respond to Defendant Hill-Rom's arguments. See N.D. Ga.

R. 7.1B ("Failure to file a response shall indicate that there is

no opposition to the motion.")

     The     Court      agrees        with      Defendant      Hill-Rom        that

judgment as a matter of law in Hill-Rom's favor is appropriate

for these claims. See Jones, 683 F.3d at 1292 ("[Tjhe plain

language of Rule 56 mandates                         the entry of       summary

judgment against a party who fails to make a showing

sufficient to establish the existence of an element essential

to that party's case, and on which that party will bear the

burden     of   proof       at     trial."    (internal     quotation     marks,

alterations, and citation omitted)); Holland v. Dep't of Health
                               49
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 50 of 60




& Human Servs., 51 F. Supp. 1357, 1376 (N.D. Ga. Sept. 30,

2014) (finding that a plaintiff abandoned a claim by failing to

respond to the defendant's arguments concerning that claim

on a motion to dismiss).

      E.     G r o s s Negligence

      Defendant Hill-Rom contends that no reasonable jury

could find a total absence of care in Defendant Hill-Rom's

actions.     (Def.'s Br. Supp. Mot. at 18.)      Plaintiff argues that

the facts of this case pose a jury issue that cannot be

adjudicated on summary judgment.             The Court agrees with

Plaintiff.

      O.C.G.A. § 51-1-4 defines gross negligence:

     In general, slight diligence is that degree of care
     which every man of common sense, however
     inattentive he may be, exercises under the same or
     similar circumstances.        As applied to the
     preservation of property, the term "slight diligence"
     means that care which every man of common
     sense, however inattentive he may be, takes of his
                                    50
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 51 of 60




     own property. The absence of such care is termed
     gross negligence.

O.C.G.A. § 51-1-4.       "In other words, gross negligence has

been defined as equivalent to the failure to exercise even a

slight degree of care or lack of the diligence that even

careless men are accustomed to exercise. Wolfe v. Carter,

314 Ga. App. 854, 859, 726 S.E.2d 122, 126 (2012).

     "When facts alleged as constituting gross negligence

are such that there is room for difference of opinion between

reasonable [people] as to whether or not negligence can be

inferred, and if so whether in degree the negligence amounts

to gross negligence, the right to draw the inference is within

the exclusive province of the jury."         Colonial Props. Realty

Ltd. P'ship V. Lewder Const. Co.. 256 Ga. App. 106, 112,

567 S.E.2d 389, 394 (2002) (footnote omitted); see also

Wolfe, 314 Ga. App. at 859, 726 S.E.2d at 126 (2012)

                                   51
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 52 of 60




("Questions of negligence and diligence, even of gross

negligence and slight diligence, usually are matters to be

determined by the jury, but in plain and indisputable cases

the court may solve the question as a matter of law.").

     Defendant Hill-Rom did criminal background checks for

its employees, and additionally. Defendant Hill-Rom diligently

provided Defendant Paschal with driver training.             Defendant

Hill-Rom    also   performed      annual     MVR's     on    Defendant

Paschal. However, evidence in this case also demonstrates

that Defendant Hill-Rom may have completely disregarded

information in the annual MVR's, given that Mr. Frantzen did

not register any new citations, violations, or suspensions

which were present on Defendant Paschal's 2015 MVR.

     On June 2, 2015, Defendant Hill-Rom had to pick up

Defendant Paschal's company vehicle because he had been

arrested for having a suspended or revoked license. Taking
                            52
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 53 of 60




the facts in the light nnost favorable to Plaintiff, Defendant

Hill-Rom     never     disciplined     Defendant       Paschal,      nor

suspended or curtailed          his driving     privileges   after   this

incident.    Then, on August 6, 2015, Defendant Hill-Rom

conducted Defendant Paschal's 2015 MVR, which showed

an almost one-month suspension which should have, under

the Driver Disqualification Policy, resulted in temporarily

prohibiting Defendant Paschal from performing any driving-

related job functions. The 2015 MVR also contained another

six-month suspension for which the Driver Disqualification

Policies mandated that Defendant Paschal be removed from

his job.    The 2015 MVR also contained two new citations,

one of which would arguably constitute a serious traffic

violation under the Driver Disqualification Policy.          Defendant

Hill-Rom took no disciplinary action.^ Indeed, Defendant Hill-

® The 2015 MVR, along with his June 2, arrest, illustrated that
                           53
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 54 of 60




Rom subsequently decided to promote Defendant Paschal

and   give     him   greater   access     to   a   company      vehicle.

Defendant Paschal then drove that vehicle the wrong way on

the interstate and collided with Plaintiff. The Court finds that

the evidence poses a jury issue as to whether Defendant

Hill-Rom was grossly negligent.

      F.     Negligence Per S e

      To recover under a theory of negligence per se, one

element that a plaintiff must prove is that the defendant

violated a statute.       See Norman v. Jones Lang Lasalle



Defendant Paschal habitually failed to report driving violations.
However, Defendant Hill-Rom did not choose to conduct MVR's
with greater frequency going forward. Defendant Paschal's
license had been suspended for seven months at the time of the
collision. If Defendant Hill-Rom had made itself aware of this
fact before the collision by conducting MVR's with greater
frequency, the Driver Disqualification Policies would have
mandated that Defendant Paschal be removed from his job, i.e.,
he would not have been allowed to drive a Defendant Hill-Rom
company vehicle on the date of the collision.
                               54
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 55 of 60




Americas. Inc.. 277 Ga. App. 6 2 1 , 628, 627 S.E.2d 382, 388

(2006). Defendant Hill-Rom indicates that Plaintiff has failed

to allege that Defendant Hill-Rom has violated a statute.

(Def.'s Br. Supp. Mot. at 19.) Defendant Hill-Rom states that

"the only statutes cited in the Complaint with regard to

Plaintiff's negligence per se claim relate to              [Defendant

Paschal's alleged failure to exercise the mandatory standard

of care."         Plaintiff has not responded to Defendant Hill-

Rom's argument.        See N.D. Ga. R. 7.1 B ("Failure to file a

response shall indicate that there is no opposition to the

motion.").

     The     Court     agrees    with   Defendant       Hill-Rom    that

judgment as a matter of law in Hill-Rom's favor is appropriate

for this claim.      See Jones. 683 F.3d at 1292 ("[Tjhe plain

language of Rule 56 mandates the entry of                     summary

judgment against a party who fails to make a showing
                                   55
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 56 of 60




sufficient to establish the existence of an element essential

to that party's case, and on which that party will bear the

burden     of     proof      at     trial."   (internal   quotation   marks,

alterations, and citation omitted)); Holland, 51 F. Supp. at

1376 (finding that a plaintiff abandoned a claim by failing to

respond to the defendant's arguments concerning that claim

on a motion to dismiss).

     G.    Punitive Damages

     Defendant Hill-Rom argues that Plaintiff failed to state a

claim for punitive damages because the claim for those

damages is conclusory.                  (Def.'s Br. Supp. Mot. at 20.)

Plaintiff contends that he has alleged enough facts to warrant

the recovery of punitive damages. (PL's Resp. Br. at 23.)

     "Punitive damages may be awarded only in such tort

actions in which          it is proven          by clear and      convincing

evidence        that   the        defendant's     actions    showed    willful
                                        56
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 57 of 60




misconduct, malice, fraud, wantonness, oppression, or that

entire want of care which would raise the presumption of

conscious indifference to consequences." O.C.G.A. § 51-12-

5.1.

       Plaintiff does not explicitly claim punitive damages in his

complaint, but asks for exemplary damages.              (Compl. at 8.)

Plaintiff does not state any facts in that section that would

support a punitive damages claim, nor does he even list the

elements of a punitive damages claim.               (Id.)   The Court

agrees with Defendant Hill-Rom that, because                  Plaintiff's

punitive damages claim is entirely conclusory, he has failed

to state a claim for punitive damages. Moore v. Mvland. Inc.,

840 F. Supp. 2d 1337, 1353 (N.D. Ga. Jan. 5, 2012) ("The

Court agrees with defendants that plaintiff's               conclusory

pleading without stating any facts to support her claim fails to

state a claim for punitive damages."); Henderson v. Sun
                            57
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 58 of 60




Pharms. Indus.. Ltd., No. 4:11-CV-0060-HLM, 2011 WL

4024656, at *8 (N.D. Ga. June 9, 2011) (with regard to a

punitive damages claim, "Plaintiff . . . does not provide any

factual support for those allegations and such general,

conclusory allegations are insufficient under lqbal").^°            The

Court therefore grants         Defendant     Hill-Rom's     Motion for

Summary Judgment as to this claim.

IV.   Conclusion

      ACCORDINGLY, the Court G R A N T S IN P A R T AND

DENIES IN P A R T Defendant Hill-Rom's Motion for Summary

Judgment [81].

      The Court G R A N T S Defendant Hill-Rom's Motion with

respect to Plaintiff's, (1) respondeat superior claim, (2)


^° Plaintiff cites exclusively to Georgia law to claim he has
sufficiently pleaded a claim for punitive damages. (PL's Resp.
Br. at 22-23.) However, the pleading standards in this case are
governed by federal law. Ashcroft v. Iqbal, 556 U.S. 662, 684
(2009).
                                58
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 59 of 60




negligent hiring, retention, training, and supervision claims,

(3)   negligent     maintenance,          driving   qualifications,   and

contracting claims, (4) negligence per se claim, and (4)

punitive damages claim.

      The Court D E N I E S Defendant Hill-Rom's Motion with

respect to Plaintiff's (1) negligent entrustment claim and (2)

gross negligence claim.

      The Court O R D E R S Plaintiff and Defendants to file their

proposed consolidated pretrial order WITHIN THIRTY (30)

DAYS. The Court D I R E C T S the Clerk to place this case on

the   Court's     next   available    trial   calendar    following   the

submission of the pretrial order.




                                     59
 Case 4:17-cv-00021-HLM Document 102 Filed 01/18/18 Page 60 of 60




     All motions in limine are due no later than fourteen

calendar days prior to the date on which the trial of this case

is scheduled to begin. Absent a showing of good cause, the

Court will not consider untimely-filed motions in limine.

     IT IS SO ORDERED, this the / ^ a y of January, 2018




                 SEN                                     RICT JUDGE




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